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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
In re

Yasser Boza Diaz
                                                              CHAPTER           13
                                                              CASE NO.          24-15532-CLC
      Debtor(s)
______________________________/
       NOTICE OF APPEARANCE FOR CREDITOR ON A LIMITED BASIS
   PERTAINING TO SPECIFIED COLLATERAL AND SPECIFIED LIEN PRIORITY

       COMES NOW, the firm of Kass Shuler, P.A. and files this Notice of Appearance On A
Limited Basis as counsel for the following Creditor:
        US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST
in regards to the Creditor's claim pertaining to the following identified Collateral and Lien
Position:
        Collateral1: 8090 W 18TH LN RD
                        HIALEAH, FL 33014
        Lien Priority2: First Mortgage
        1.      The firm be should be added to the Matrix for this Creditor in regards to the
Collateral as:
                US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
                CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET
                TRUST
                c/o Nicole Mariani Noel
                P.O. Box 800
                Tampa, FL 33601
        2.      This is not a general Notice of Appearance. The firm only represents the Creditor
in regards to the Creditor's claim for the specified lien priority and for the specified collateral
described above. The firm does not represent the Creditor generally in regards to other claims
and other lien priorities unless a separate Notice of Appearance is filed and can not accept
service of pleadings directed to the Creditor regarding other claims the creditor may have in this
case.
        3.      This is not a Notice of Appearance regarding entities related to the Creditor. The

         1
             Contact the signer of this Notice of Appearance for the Legal Description of Collateral consisting of Real
Property.
         2
           Creditor believes its lien is in the indicated priority; however, the Court has not determined the priority of
any liens in this case.
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firm can not accept service of pleadings directed to other corporate entities which may be
affiliated with the Creditor in some way as these other entities are separate entities and are in fact
different creditors in this case.


                  Certification as to Admission to the Southern District Bar

         I hereby certify that I am admitted to the Bar of the United States District Court for the
Southern District of Florida, and I am in compliance with the additional qualifications to practice
in this court set forth in Local Rule 2090-1(A).

        I hereby certify that if the above is a matter requiring a hearing rather than negative
notice, I have attempted to resolve the disputes involved with opposing parties prior to
requesting any hearing on the above Motion.

                                                      /s/ Nicole Mariani Noel
                                                      Nicole Mariani Noel
                                                      Kass Shuler, P.A.
                                                      P.O. Box 800
                                                      Tampa, FL 33601
                                                      Phone: (813) 229-0900 Ext. 1343
                                                      Fax: (813) 229-3323
                                                      nmnoel@kasslaw.com
                                                      Florida Bar No. 69883

Dated: June 6, 2024

2424734B/mlh
